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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

CRIMINAL MINUTES - GENERAL

Case No. SACR 23-00012-FWS Date March 16, 2023

 

 

Present: The Honorable FRED W. SLAUGHTER, UNITED STATES DISTRICT JUDGE

 

Interpreter None

 

 

Melissa H. Kunig Debbie Hino-Spaan Lawrence Kole
Deputy Clerk Court Reporter Assistant U.S. Attorney
U.S.A. v. Defendant(s): Present Cust. Bond Attorneys for Defendants: Present App. Ret.
Eugene Young X X Kelley Munoz (DFPD) X Xx

PROCEEDINGS: CHANGE OF PLEA

X Defendant moves to change plea to the Information.

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Defendant sworn and states true name as charged.

 

 

X Defendant enters new and different plea of GUILTY to the Single-Count Information.

X Defendant sworn and the Court questions the defendant regarding plea of GUILTY and FINDS
that a factual basis has been laid and Further FINDS the plea is knowledgeable and voluntarily
made. The Court ORDERS the plea accepted and entered.

X The Court refers the defendant to the Probation Office for investigation and preparation of the
pre-sentence report and the matter is continued to September 28, 2023, at 1:30 p.m. for
sentencing.

X The Court further ORDERS position paper with respect to sentencing shall be filed not later
than two (2) weeks prior to sentencing including service on the assigned probation officer.

X Other: The Court vacates the pretrial conference date of March 30, 2023, and the trial date of
April 11, 2023.

X Defendant remains on bond under same terms and conditions.

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Initials of Deputy Clerk mku
cc: USPPO

 

 

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